                                     Case 18-21827              Doc 1        Filed 09/06/18           Page 1 of 139

Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MassKap, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Arroz
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  12154 Darnestown Road, Ste 621
                                  Gaithersburg, MD 20878
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Montgomery                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  901 Massachusetts Ave NW Washington, DC
                                                                                                  20001
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 18-21827               Doc 1         Filed 09/06/18              Page 2 of 139
Debtor    MassKap, LLC                                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 7225

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                 Relationship
                                                  District                                When                              Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                    Case 18-21827                 Doc 1        Filed 09/06/18            Page 3 of 139
Debtor   MassKap, LLC                                                                              Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999


15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                     Case 18-21827               Doc 1        Filed 09/06/18             Page 4 of 139
Debtor    MassKap, LLC                                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 6, 2018
                                                  MM / DD / YYYY


                             X   /s/ Johannes Allender                                                    Johannes Allender
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CFO




18. Signature of attorney    X   /s/ Richard J. Oparil                                                     Date September 6, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Richard J. Oparil
                                 Printed name

                                 Porzio, Bromberg & Newman, P.C.
                                 Firm name

                                 1200 New Hampshire Avenue, NW
                                 Washington, DC 20036-6802
                                 Number, Street, City, State & ZIP Code


                                 Contact phone                                   Email address      rjoparil@pbnlaw.com

                                 13063
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                     Case 18-21827            Doc 1       Filed 09/06/18          Page 5 of 139
Debtor     MassKap, LLC                                                                     Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MARYLAND

Case number (if known)                                                   Chapter     11
                                                                                                                         Check if this an
                                                                                                                         amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     14WBella, LLC                                                           Relationship to you               Affiliate
District   Maryland                                   When     9/06/18             Case number, if known             18-21825
Debtor     BellCantina, LLC                                                        Relationship to you               Affiliate
District   Maryland                                   When     9/06/18             Case number, if known             18-21823
Debtor     BellKap, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     BellNoodle, LLC                                                         Relationship to you               Affiliate
District   Maryland                                   When     9/06/18             Case number, if known             18-21824
Debtor     CPKap, LLC                                                              Relationship to you               Affiliate
District   Maryland                                   When     9/06/18             Case number, if known             18-21808
Debtor     Mike Isabella, Inc.                                                     Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Mosakap, LLC                                                            Relationship to you               Affiliate
District                                              When                         Case number, if known
Debtor     Tyisa, LLC                                                              Relationship to you               Affiliate
District                                              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                     page 5
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 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 6, 2018                       X /s/ Johannes Allender
                                                                       Signature of individual signing on behalf of debtor

                                                                       Johannes Allender
                                                                       Printed name

                                                                       CFO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                            Case 18-21827                Doc 1         Filed 09/06/18               Page 13 of 139


 Fill in this information to identify the case:
 Debtor name MassKap, LLC
 United States Bankruptcy Court for the: DISTRICT OF MARYLAND                                                                                         Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Adams-Burch                                                     Trade Payable                                                                                              $3,353.30
 Lender
 1901 Stanford Court
 Hyattsville, MD
 20785
 Alsco                                                           Trade Payable                                                                                              $2,665.55
 4900 Philadelphia
 Way
 Lanham, MD 20706
 Baldor Specialty                                                Trade Payable                                                                                            $15,995.97
 Foods, Inc.
 155 Food Center
 Drive
 Bronx, NY 10474
 C&JM Services, Inc.                                             Trade Payable                                                                                              $9,589.57
 P.O. Box 223
 Gaithersburg, MD
 20878
 Capital Meat Co.                                                Trade Payable                                                                                            $11,787.00
 P.O. Box 3117
 Hyattsville, MD
 20784
 Coastal Sunbelt                                                 Trade Payable                                                                                              $1,829.76
 Produce
 8704 Bollman Place
 Savage, MD 20763
 DC Treasurer -                                                  Tax                                                                                                       Unknown
 Personal Property
 Tax
 Office of Tax and
 Revenue
 P.O. Box 419
 Washington, DC
 20044




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                                            Case 18-21827                Doc 1         Filed 09/06/18               Page 14 of 139


 Debtor    MassKap, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Earth N Eats                                                    Trade Payable                                                                                              $2,332.00
 7509 Wayne
 Highway
 Waynesboro, PA
 17268
 Elite Wines Imports,                                            Trade Payable                                                                                              $1,608.82
 Inc.
 7407 Lockport
 Place, Ste A
 Lorton, VA 22079
 Fells Point                                                     Trade Payable                                                                                              $6,654.61
 Wholesale Meats
 P.O. Box 21491
 New York, NY
 10087-1491
 JRS Associates, Inc.                                            Trade Payable                                                                                          $221,992.27
 6393A Rockburn Hill
 Road
 Elkridge, MD 21075
 Julius Silvert, Inc.                                            Trade Payable                                                                                            $30,552.04
 P.O. Box 824559
 Philadelphia, PA
 19182-4559
 Keany Produce Co.                                               Trade Payable                                                                                              $5,703.14
 3310 75th Avenue
 Hyattsville, MD
 20785
 Kelly Health                                                    Trade Payable                                                                                            $19,797.29
 Insurance
 P.O. Box 418926
 Boston, MA
 02241-8926
 LDV Imports                                                     Trade Payable                                                                                              $3,075.00
 130 West 25th
 Street, Floor 7
 New York, NY 10001
 Marriot Marquis                                                 Rent                                                                                                   $119,130.74
 Washington DC
 901 Massachusetts
 Avenue, NW
 Washington, DC
 20001
 Oracle America, Inc.                                            Trade Payable                                                                                              $4,773.82
 PO Box 44471
 San Francisco, CA
 94144-4471
 Samuels & Son                                                   Trade Payable                                                                                              $8,706.13
 Seafood Co.
 3400 S Lawrence St
 Philadelphia, PA
 19148



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                            Case 18-21827                Doc 1         Filed 09/06/18               Page 15 of 139


 Debtor    MassKap, LLC                                                                                       Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 The Hartford                                                    Trade Payable                                                                                              $1,802.53
 P.O. Box 660916
 Dallas, TX
 75266-0916
 Tony Pagonis                                                    Loan                                                                                                   $100,000.00
 10605 Judicial Drive,
 A4
 Fairfax, VA 22030




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                                               Case 18-21827                             Doc 1              Filed 09/06/18                         Page 16 of 139
 Fill in this information to identify the case:

 Debtor name            MassKap, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $           328,483.10

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           722,583.47

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        1,051,066.57


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           584,359.09


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,430.38

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           607,593.67


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,201,383.14




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
                                       Case 18-21827                 Doc 1     Filed 09/06/18       Page 17 of 139
 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $600.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     EagleBank                                               Checking                        6565                                             $0.00




           3.2.     EagleBank                                               Checking                        7235                                             $0.00




           3.3.     TD Bank                                                 Checking                        3329                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $600.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
                                       Case 18-21827                   Doc 1      Filed 09/06/18        Page 18 of 139

 Debtor           MassKap, LLC                                                                   Case number (If known)
                  Name




           7.1.     Landlord Security Deposit                                                                                             $69,874.26




           7.2.     Adams Burch Dishwasher                                                                                                    $200.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                           $70,074.26
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Perishable Goods.
           Landlord has onsite.                       07/31/2018                         $68,278.33     Recent cost                       $68,278.33




 23.       Total of Part 5.                                                                                                           $68,278.33
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                       Case 18-21827                 Doc 1     Filed 09/06/18        Page 19 of 139

 Debtor         MassKap, LLC                                                                  Case number (If known)
                Name

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Restaurant Furniture. Landlord has all fixed
           assets onsite.                                                            $104,716.66     Recent cost                      $104,716.66



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Kitchen and computer equipment. Landlord
           has all fixed assets onsite.                                              $478,914.22     Recent cost                      $478,914.22



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                          $583,630.88
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                       Case 18-21827                 Doc 1     Filed 09/06/18        Page 20 of 139

 Debtor         MassKap, LLC                                                                  Case number (If known)
                Name



 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                   Nature and          Net book value of        Valuation method used   Current value of
            property                                      extent of           debtor's interest        for current value       debtor's interest
            Include street address or other               debtor's interest   (Where available)
            description such as Assessor                  in property
            Parcel Number (APN), and type
            of property (for example,
            acreage, factory, warehouse,
            apartment or office building, if
            available.
            55.1. 901 Massachusetts
                     Ave NW
                     Washington, DC                       Leasehold
                     20001                                Improvements               $328,483.10       Recent cost                       $328,483.10




 56.        Total of Part 9.                                                                                                           $328,483.10
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used    Current value of
                                                                              debtor's interest        for current value        debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Trade Name                                                                 Unknown                                              Unknown



 61.        Internet domain names and websites
            Internet Domain                                                            Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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                                       Case 18-21827                 Doc 1     Filed 09/06/18       Page 21 of 139

 Debtor         MassKap, LLC                                                                 Case number (If known)
                Name


               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                  page 5
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                                          Case 18-21827                       Doc 1            Filed 09/06/18                   Page 22 of 139

 Debtor          MassKap, LLC                                                                                        Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $600.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $70,074.26

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                               $68,278.33

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $583,630.88

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $328,483.10

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $722,583.47           + 91b.              $328,483.10


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $1,051,066.57




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 6
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
                                            Case 18-21827               Doc 1         Filed 09/06/18                Page 23 of 139
 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                  amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                        Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                    Amount of claim             Value of collateral
                                                                                                                                                    that supports this
                                                                                                                        Do not deduct the value     claim
                                                                                                                        of collateral.
 2.1   EagleBank                                      Describe debtor's property that is subject to a lien                     $497,485.51                       $0.00
       Creditor's Name

       130 Rollins Avenue
       Rockville, MD 20852
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   On Deck Capital, Inc.                          Describe debtor's property that is subject to a lien                       $86,873.58                      $0.00
       Creditor's Name
       Attn: Director of
       Operations
       901 N. Stuart Street, Suite
       700
       Arlington, VA 22203
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                       Case 18-21827                    Doc 1   Filed 09/06/18             Page 24 of 139
 Debtor       MassKap, LLC                                                                       Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $584,359.09

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                      Page 25 of 139
 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                                      Check if this is an
                                                                                                                                                      amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                        Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                    $0.00      $0.00
           Adam M Kiley                                              Check all that apply.
           230 Rhode Island Ave NE                                      Contingent
           Apt 114                                                      Unliquidated
           Washington, DC 20002                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                    $0.00      $0.00
           Agustin Aniceto Gonzalez                                  Check all that apply.
           1111 Massachusetts Ave NW                                    Contingent
           Apt 614                                                      Unliquidated
           Washington, DC 20005                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 1 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 26 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alana J Thomas                                             Check all that apply.
          1113 Penn St NE                                               Contingent
          Apt 4                                                         Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alejandra Gonzalez Alfaro                                  Check all that apply.
          1352 Fairmont St NW                                           Contingent
          Apt 7                                                         Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alexis O Soto-Raymundo                                     Check all that apply.
          13719 Woodlark Dr                                             Contingent
          Rockville, MD 20853                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alfred Renton Martinez                                     Check all that apply.
          3620 16th St NW                                               Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 2 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 27 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alissa L Pelkola                                           Check all that apply.
          1101 L St NW                                                  Contingent
          Apt 804                                                       Unliquidated
          Washingto, DC 20005                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Alvaro Pereira                                             Check all that apply.
          816 Fairoak Ave                                               Contingent
          Hyattsville, MD 20783                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          ANDREW UPTON                                               Check all that apply.
          10204 SUNDANCE CT                                             Contingent
          POTOMAC, MD 20854                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Anthony D Watkins                                          Check all that apply.
          6619 Elkton Terrace                                           Contingent
          Brandywine, MD 20613                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 3 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 28 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          ANTONIO DE LOS SANTOS                                      Check all that apply.
          1111 MASSACHUSETTS AVE NW                                     Contingent
          APT 203                                                       Unliquidated
          WASHINGTON, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Antonio K Lappegard                                        Check all that apply.
          1960 Rochelle Ave                                             Contingent
          Apt 827                                                       Unliquidated
          District Heights, MD 20747                                    Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Antonio V Panadero                                         Check all that apply.
          1884 Columbia Rd                                              Contingent
          Apt 214                                                       Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Armando J Soza                                             Check all that apply.
          2847 Allen Rd                                                 Contingent
          Berryville, VA 22611                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 4 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 29 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          ARTEMIO VARGAS                                             Check all that apply.
          1510 10TH ST NW                                               Contingent
          APT 102A                                                      Unliquidated
          WASHINGTON, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Asad L Holmberg                                            Check all that apply.
          1162 4th St NE                                                Contingent
          Washington, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ashley S Bigelow                                           Check all that apply.
          15108 Plum Tree Way                                           Contingent
          Bowie, MD 20721                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Augustin Pineda                                            Check all that apply.
          2912 7th St NE                                                Contingent
          Apt 3                                                         Unliquidated
          Washington, DC 20017                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 5 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 30 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Austin Ihm                                                 Check all that apply.
          7622 Carteret Rd                                              Contingent
          Bethesda, MD 20817                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Blanca E Sanches                                           Check all that apply.
          650 Park Rd NW                                                Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          BRANDON OSMANI VICENTE                                     Check all that apply.
          1236 11TH ST NW                                               Contingent
          APT 607                                                       Unliquidated
          WASHINGTON, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Brian E Alvarez                                            Check all that apply.
          12900 Pickering Dr                                            Contingent
          Germantown, MD 20874                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                      Page 6 of 67
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                                       Case 18-21827                     Doc 1           Filed 09/06/18                Page 31 of 139
 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Brian J Atlas                                              Check all that apply.
          1020 Irving St NE                                             Contingent
          Washington, DC 20017                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Brittany T Commodore                                       Check all that apply.
          4226 Augusta St                                               Contingent
          Waldorf, MD 20602                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Bruce A Vargas                                             Check all that apply.
          4002 19th Ave                                                 Contingent
          Temple Hills, MD 20748                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Candice A Segovia                                          Check all that apply.
          151 Q St NE                                                   Contingent
          Apt 3508                                                      Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Carlos R Paiva                                             Check all that apply.
          562 Oklahoma Ave NE                                           Contingent
          Washington, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Carlos Sanchez                                             Check all that apply.
          727 Morton St NW                                              Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Caroline M De Raet                                         Check all that apply.
          9100 Wooden Bridge Rd                                         Contingent
          Rockville, MD 20854                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Cecilia Mauricio Ascencio                                  Check all that apply.
          3521 14th St NW                                               Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.31     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          CHASE BURKE                                                Check all that apply.
          1111 MASSACHUSETTS AVE NW                                     Contingent
          APT 412                                                       Unliquidated
          WASHINGTON, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          CHRISTINA M LEIVA                                          Check all that apply.
          9513 TAM O SHANTER DR                                         Contingent
          UPPER MARLBORO, MD 20772                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Christine Canel-Parent                                     Check all that apply.
          403 Dale Dr                                                   Contingent
          Silver Spring, MD 20910                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Christopher Makel Moses                                    Check all that apply.
          1715 New Jersey Ave NW                                        Contingent
          #B                                                            Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.35     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Claire M Moerder                                           Check all that apply.
          201 I St SW                                                   Contingent
          V434                                                          Unliquidated
          Washington, DC 20024                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.36     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Colin A Lauer                                              Check all that apply.
          2022 6th St S                                                 Contingent
          Arlington, VA 22204                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.37     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Daniel E Umana Abarca                                      Check all that apply.
          3006 Muskogee St                                              Contingent
          Adelphi, MD 20783                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.38     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Danielle M Collins                                         Check all that apply.
          2320 Chester St SE                                            Contingent
          Apt 2101                                                      Unliquidated
          WASHINGTON, DC 20020                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.39     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Darrell N Blackwell                                        Check all that apply.
          224 36th St SE                                                Contingent
          Apt 303                                                       Unliquidated
          Washington, DC 20019                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.40     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          David V Nelson                                             Check all that apply.
          12774 Wisteria Dr                                             Contingent
          Apt 1782                                                      Unliquidated
          Germantown, MD 20874                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.41     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          David W Sabbadino                                          Check all that apply.
          1635 A St NE                                                  Contingent
          Washington, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.42     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          DaVon Moody                                                Check all that apply.
          19817Apple Ridge Pl                                           Contingent
          MONTGOMERY VILLAGE, MD                                        Unliquidated
          20886                                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.43     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $9,430.38    Unknown
          DC Treasurer - Personal Property                           Check all that apply.
          Tax                                                           Contingent
          Office of Tax and Revenue                                     Unliquidated
          P.O. Box 419                                                  Disputed
          Washington, DC 20044
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Tax
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.44     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Dean A Hildebrand                                          Check all that apply.
          1314 Massachusetts Ave NW                                     Contingent
          Apt G 04                                                      Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.45     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          Delci Villatoro                                            Check all that apply.
          3636 16 St NW                                                 Contingent
          B252                                                          Unliquidated
          WASHINGTON, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.46     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $0.00     $0.00
          DENISE C WILLIAMS                                          Check all that apply.
          2425 BLUERIDGE AVE                                            Contingent
          WHEATON, MD 20902                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.47     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Denise M Brandi                                            Check all that apply.
          11 Beacon Hill Way                                            Contingent
          Gaithersburg, MD 20878                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.48     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Derek Tennant                                              Check all that apply.
          5576 Burnside Dr                                              Contingent
          #6                                                            Unliquidated
          Rockville, MD 20853                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.49     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Derrald B Segue                                            Check all that apply.
          1884 Columbia Rd                                              Contingent
          Apt 214                                                       Unliquidated
          Washingto, DC 20009                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.50     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Derwin S Echevarria Coreano                                Check all that apply.
          2647 N Van Dorn St                                            Contingent
          Apt #12                                                       Unliquidated
          Alexandria, VA 22302                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.51     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Devon Trotter                                              Check all that apply.
          1401 N St NW                                                  Contingent
          Apt 213                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.52     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Deysi Sanchez Garcia                                       Check all that apply.
          1511 Franklin St NE                                           Contingent
          WASHINGTON, DC 20018                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.53     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Diana Membreno                                             Check all that apply.
          4723 Baltimore Ave                                            Contingent
          Hyattsville, MD 20781                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.54     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Draxler Argueta                                            Check all that apply.
          9322 19th Ave                                                 Contingent
          Apt 203                                                       Unliquidated
          Adelphi, MD 20783                                             Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.55     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Dylan M Panzer                                             Check all that apply.
          18101 Rolling Meadow Way                                      Contingent
          Olney, MD 20832                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.56     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          EDGAR F LOZANO                                             Check all that apply.
          8060 13TH ST                                                  Contingent
          APT 603                                                       Unliquidated
          SILVER SPRING, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.57     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          EDUARDO GONZALEZ                                           Check all that apply.
          1236 11TH ST NW                                               Contingent
          APT 607                                                       Unliquidated
          WASHINGTON, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.58     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Elliot Drew                                                Check all that apply.
          733 N Kings Rd                                                Contingent
          Apt 349                                                       Unliquidated
          Los Angeles, CA 90069                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.59     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Elmehdi Moubarki                                           Check all that apply.
          5661 3rd St NE                                                Contingent
          Apt 174                                                       Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.60     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Elmer F Lopez                                              Check all that apply.
          1203 Ingraham St NW                                           Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.61     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Elvis Y Soto                                               Check all that apply.
          5815 14th St NW                                               Contingent
          Apt 201                                                       Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.62     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emily C Wasielewski                                        Check all that apply.
          3725 Macomb St NW                                             Contingent
          Apt 507                                                       Unliquidated
          Washington, DC 20016                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.63     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Emmanuel D Solomon                                         Check all that apply.
          1163 1st Pl NW                                                Contingent
          Washington, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.64     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Eustacio Nava Felipe                                       Check all that apply.
          1451 Park Rd NW                                               Contingent
          Apt 518                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.65     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Evan B Snyder                                              Check all that apply.
          1222 Staples St NE                                            Contingent
          Apt 4                                                         Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.66     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ever O Martin Silva                                        Check all that apply.
          780 Fairview Ave                                              Contingent
          Apt 301                                                       Unliquidated
          Takoma Park, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.67     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Faisal B Adam                                              Check all that apply.
          5262 Cozy Glen Ln                                             Contingent
          Alexandria, VA 22312                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.68     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Fanny Sanluis                                              Check all that apply.
          315 Franklin St NE                                            Contingent
          Washington, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.69     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Francesca D Moquete                                        Check all that apply.
          4914 Quimby Ave                                               Contingent
          BELTSVILLE, MD 20705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.70     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Francisco Neri                                             Check all that apply.
          930 M St NW                                                   Contingent
          Apt T05                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.71     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Frank A Boakye                                             Check all that apply.
          2812 Poag St                                                  Contingent
          Alexandria, VA 22303                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.72     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Franklin E Aguirre                                         Check all that apply.
          926 Euclid Street                                             Contingent
          WASHINGTON, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.73     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Glenda Argueta Guevara                                     Check all that apply.
          5029 8th St NW                                                Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.74     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Gloria Diaz Potillo                                        Check all that apply.
          1601 E St NW                                                  Contingent
          Washington, DC 20502                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.75     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Graciela Trujillo                                          Check all that apply.
          601 Edgewood St NE                                            Contingent
          Apt 533                                                       Unliquidated
          Washington, DC 20017                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.76     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Gregorio Martinez                                          Check all that apply.
          1111 Massachusetts Ave NW                                     Contingent
          Apt 815                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.77     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Greshen G Venketasamy                                      Check all that apply.
          6669 Bucknell Rd                                              Contingent
          Bryans Road, MD 20616                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.78     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Guadalupe Martinez                                         Check all that apply.
          7019 Georgia Ave NW                                           Contingent
          Apt 105                                                       Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.79     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hairul Nizam                                               Check all that apply.
          10949 Bucknell Dr                                             Contingent
          Silver Spring, MD 20902                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.80     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hector Barrios Torres                                      Check all that apply.
          601 Edgewood St NE                                            Contingent
          Apt 721                                                       Unliquidated
          Washington, DC 20017                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.81     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Heins L Martinez                                           Check all that apply.
          9122 Arlington Blvd                                           Contingent
          Fairfax, VA 22031                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.82     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Herminia Torres de Moreno                                  Check all that apply.
          7019 Georgia Ave NW                                           Contingent
          Apt 4                                                         Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.83     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hernan Mejia                                               Check all that apply.
          3101 Kimberly Rd                                              Contingent
          Hyattsville, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.84     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          HICIDORO TEJADA SANCHEZ                                    Check all that apply.
          1111 MASSACHUSETTS AVE NW                                     Contingent
          APT 212                                                       Unliquidated
          WASHINGTON, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.85     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Hiroko S Fujimoto                                          Check all that apply.
          8210 Catbird Cir                                              Contingent
          Apt 201                                                       Unliquidated
          Lorton, VA 22079                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.86     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Honorio Bautista Santos                                    Check all that apply.
          803 R St NW                                                   Contingent
          Washington, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.87     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          HUMBERTO A VERGARA                                         Check all that apply.
          VILLANUEVA                                                    Contingent
          601 EDGEWOOD ST NE                                            Unliquidated
          APT 210                                                       Disputed
          WASHINGTON, DC 20017
          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.88     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Indya L Henderson                                          Check all that apply.
          3300 18th Place SE                                            Contingent
          WASHINGTON, DC 20020                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.89     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ivan A Gotay                                               Check all that apply.
          1115 Rhode Island Ave NW                                      Contingent
          Washington, DC 20005                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.90     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          JACOB EULER                                                Check all that apply.
          723 FALLSGROVE DR                                             Contingent
          APT 4033                                                      Unliquidated
          ROCKVILLE, MD 20850                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.91     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jacobo Huezo Romero                                        Check all that apply.
          660 Kenyon St NW                                              Contingent
          Apt 2                                                         Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.92     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jacqueline Carballo Mendoza                                Check all that apply.
          7019 Georgia Ave NW                                           Contingent
          Apt 106                                                       Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.93     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jakevian Desmeon Matthews                                  Check all that apply.
          8601 Boundbrook Terrace                                       Contingent
          Manassas, VA 20109                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.94     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jasmin N Brooks                                            Check all that apply.
          1825 Village Green Dr                                         Contingent
          Hyattsville, MD 20785                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.95     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jason A Smith                                              Check all that apply.
          2627 Adams Mill Rd NW                                         Contingent
          #3                                                            Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.96     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jason M Eury                                               Check all that apply.
          24709 Kings Valley Rd                                         Contingent
          Damascus, MD 20872                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.97     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jason R Barnes                                             Check all that apply.
          1312 Clifton St NW                                            Contingent
          Apt 5145                                                      Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.98     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Javier E Lamboy                                            Check all that apply.
          4301 23rd Pkwy                                                Contingent
          Temple Hills, MD 20748                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.99     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jessenia Francisca Garmendez                               Check all that apply.
          5111 South Dakota Ave NE                                      Contingent
          Washington, DC 20017                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.100    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jesus Casarrubias Cervantes                                Check all that apply.
          6401 14th St NW                                               Contingent
          Apt A-5                                                       Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.101    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jhon C Zepeda                                              Check all that apply.
          7019 Georgia Ave NW                                           Contingent
          Washington, DC 20012                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.102    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          John M Porter                                              Check all that apply.
          5508 Kathleen Pl                                              Contingent
          Springfield, VA 22151                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.103    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          JORDAN HAMMES                                              Check all that apply.
          429 N ST SW                                                   Contingent
          #5704                                                         Unliquidated
          WASHINGTON, DC 20024                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.104    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jorge Martinez Contreras                                   Check all that apply.
          3514 13th St NW                                               Contingent
          Apt B1                                                        Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.105    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose Avelino Felipe                                        Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 101                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.106    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose E Jemio                                               Check all that apply.
          6700 Metropolitan Center Dr                                   Contingent
          Apt 402                                                       Unliquidated
          Springfield, VA 22150                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.107    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose F Rodgriguez                                          Check all that apply.
          4703 68th Pl                                                  Contingent
          Hyattsville, MD 20784                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.108    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose L Miranda Gomez                                       Check all that apply.
          5405 16th St NW                                               Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.109    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose M Hernandez                                           Check all that apply.
          3218 Wisconsin Ave NW                                         Contingent
          Apt B2                                                        Unliquidated
          Washington, DC 20016                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.110    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose M Mendoza                                             Check all that apply.
          1434 Meridian Pl                                              Contingent
          WASHINGTON, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.111    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose M Morales                                             Check all that apply.
          7401 New Hampshire Ave                                        Contingent
          Apt 215                                                       Unliquidated
          Takoma Park, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.112    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          JOSE O MEJIA AGUILLON                                      Check all that apply.
          1388 TUCKERMAN ST NW                                          Contingent
          APT AP                                                        Unliquidated
          WASHINGTON, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.113    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Jose Velasquez                                             Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 306                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.114    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Joshua A Kowalczyk                                         Check all that apply.
          320 23rd St S                                                 Contingent
          #1319                                                         Unliquidated
          Arlington, VA 22227                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.115    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Josue S Rojel Santana                                      Check all that apply.
          809 Decatur St NW                                             Contingent
          Apt 809                                                       Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.116    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan C Jimenez                                             Check all that apply.
          800 S Florida St                                              Contingent
          Apt 4                                                         Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.117    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan J Ramirez                                             Check all that apply.
          717 Kenyon St NW                                              Contingent
          Apt 203                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.118    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan Patino                                                Check all that apply.
          13722 Smallwood Ct                                            Contingent
          CHANTILLY, VA 20151                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.119    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan Reyes Lopez                                           Check all that apply.
          1416 R St NW                                                  Contingent
          Apt 101                                                       Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.120    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juan Sop                                                   Check all that apply.
          3132 16th St NW                                               Contingent
          Apt 308                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.121    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Juana Tejeda Sanchez                                       Check all that apply.
          1715 8th St NW                                                Contingent
          Apt 102                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.122    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Julio C Juanta Tucux                                       Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 402                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.123    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Julio Salvador                                             Check all that apply.
          7416 Colshire Drive                                           Contingent
          MCLEAN, VA 22102                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.124    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kandy Piamjaroen                                           Check all that apply.
          2112 8th St NW                                                Contingent
          Apt PH22                                                      Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.125    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Karen E Moreno Hernandez                                   Check all that apply.
          801 North Hampton Drive                                       Contingent
          Silver Spring, MD 20903                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.126    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Katecia A McLean                                           Check all that apply.
          2747 Ordway St NW                                             Contingent
          Apt A                                                         Unliquidated
          Washington, DC 20008                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.127    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kelvin Flores                                              Check all that apply.
          4409 54th Pl                                                  Contingent
          Bladensburg, MD 20710                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.128    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kenneth C Weaver                                           Check all that apply.
          230 Rhode Island Ave NW                                       Contingent
          Apt T 103                                                     Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.129    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kevin A Artola Chicas                                      Check all that apply.
          123 Lee Ave                                                   Contingent
          Takoma Park, MD 20912                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.130    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kevin DeYoung                                              Check all that apply.
          2337 18th St NW                                               Contingent
          Washington, DC 20009                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.131    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Khadija Taki                                               Check all that apply.
          2750 Gallows Rd                                               Contingent
          Apt 229                                                       Unliquidated
          Vienna, VA 22180                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.132    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kristhiam B Carballo Mendoza                               Check all that apply.
          7019 Georgia Ave NW                                           Contingent
          Apt 10                                                        Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.133    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Kurt N Boyea                                               Check all that apply.
          1222 Staples St NE                                            Contingent
          Apt 4                                                         Unliquidated
          WASHINGTON, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.134    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Leonel Ordonez Godinez                                     Check all that apply.
          1205 7th St NW                                                Contingent
          Apt 102                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.135    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Leontyne T Williams                                        Check all that apply.
          11241 Columbia Pike                                           Contingent
          Silver Spring, MD 20901                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.136    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Leopoldo Salvador                                          Check all that apply.
          3514 13th St NW                                               Contingent
          Apt 22                                                        Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.137    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Lorenzo Reyes                                              Check all that apply.
          1307 12th St NW                                               Contingent
          Apt 1108                                                      Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.138    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Louis J Matsikas                                           Check all that apply.
          7902 Tysons One Pl                                            Contingent
          Apt 417                                                       Unliquidated
          Tysons, VA 22102                                              Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.139    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          LUCAS E DELCID                                             Check all that apply.
          1500 MASSACHUSETTS AVE NW                                     Contingent
          APT 437                                                       Unliquidated
          WASHINGTON, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.140    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Luis A Cuellar                                             Check all that apply.
          11702 Grandview Ave                                           Contingent
          Silver Spring, MD 20902                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.141    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Magdalena Tejeda Sanchez                                   Check all that apply.
          1924 3rd St NE                                                Contingent
          Apt 2                                                         Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.142    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Malik J Gliss                                              Check all that apply.
          3345 7th St NW                                                Contingent
          Washington, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.143    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Manuel Arroyo Morales                                      Check all that apply.
          933 N St NW                                                   Contingent
          Apt 202                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.144    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marc E Richards                                            Check all that apply.
          620 Michigan Ave NE                                           Contingent
          Washington, DC 20017                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.145    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marcelino Avelino Cruz                                     Check all that apply.
          1515 P St NW                                                  Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.146    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marcos T Rodriguez                                         Check all that apply.
          12100 Shorefield Ct                                           Contingent
          Apt 14                                                        Unliquidated
          Silver Spring, MD 20902                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.147    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Margarito Santos Remigio                                   Check all that apply.
          1306 6th St NW                                                Contingent
          Apt 102                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.148    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria Beltran Ramirez                                      Check all that apply.
          803 R St NW                                                   Contingent
          Apt 101                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.149    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria C Gonzalez                                           Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 602                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.150    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria E Guevara Rivas                                      Check all that apply.
          5029 8th St NW                                                Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.151    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Maria Gonzalez                                             Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 306                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.152    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mariano Xiap                                               Check all that apply.
          1476 Newton St NW                                             Contingent
          Apt 22                                                        Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.153    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          MARIO H CALDERON                                           Check all that apply.
          5747 13TH ST NW                                               Contingent
          WASHINGTON, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.154    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marlon Mozo                                                Check all that apply.
          1519 Park Rd NW                                               Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.155    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Martin Garcia                                              Check all that apply.
          4812 3rd St NW                                                Contingent
          Apt 02                                                        Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.156    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Marvin L Thomas Jr                                         Check all that apply.
          803 Quintana Pl NW                                            Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.157    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Meaza T Hagos                                              Check all that apply.
          2727 Duke St                                                  Contingent
          Apt 415                                                       Unliquidated
          Alexandria, VA 22314                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.158    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          MELDDRICK AGUILAR                                          Check all that apply.
          5920 CLAY ST NE                                               Contingent
          WASHINGTON, DC 20019                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.159    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Melvin J Dickerson                                         Check all that apply.
          6806 19th Rd N                                                Contingent
          Arlington, VA 22205                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.160    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Michael Amendola                                           Check all that apply.
          603 Q St NW                                                   Contingent
          Washington, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.161    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Michael G Castro                                           Check all that apply.
          930 M St NW                                                   Contingent
          Apt 205                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.162    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Michael L Rafidi                                           Check all that apply.
          1011 4th St NW                                                Contingent
          Apt 306                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.163    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          MICHAEL W MUSTARD                                          Check all that apply.
          7525 INZER ST                                                 Contingent
          SPRINGFIELD, VA 22151                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.164    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Milton D Cardona                                           Check all that apply.
          1388 Tewkesbury Pl NW                                         Contingent
          Apt B5                                                        Unliquidated
          Washington, DC 20012                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.165    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Mouna Awadi                                                Check all that apply.
          5800 Quantrell Ave                                            Contingent
          #611                                                          Unliquidated
          Alexandria, VA 22312                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.166    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Nabil Mamdouh                                              Check all that apply.
          9121 Harrington Dr                                            Contingent
          Potomac, MD 20854                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.167    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          NATALIE A MATTHEWS                                         Check all that apply.
          10714 MORNING GLORY WAY                                       Contingent
          BOWIE, MD 20720                                               Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.168    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Nelson Mendez Lopez                                        Check all that apply.
          11516 Charlton Dr                                             Contingent
          SILVER SPRING, MD 20902                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.169    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Nicholas M Bell                                            Check all that apply.
          5636 Livingston Terrace                                       Contingent
          Apt 302                                                       Unliquidated
          Oxon Hill, MD 20745                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.170    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Nicholas Sagastume Godoy                                   Check all that apply.
          1236 11th St NW Apt 301                                       Contingent
          WASHINGTON, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.171    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Noel Bonilla                                               Check all that apply.
          3342 Mt Pleasant St NW                                        Contingent
          Apt 11                                                        Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.172    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Olja Siforija                                              Check all that apply.
          1665 Kenwood Ave                                              Contingent
          ALEXANDRIA, VA 22302                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.173    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Olmer Lopez                                                Check all that apply.
          1430 Tuckerman St NW                                          Contingent
          Apt A4                                                        Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.174    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Olvin Mendoza Mendoza                                      Check all that apply.
          730 Quincy St NW                                              Contingent
          WASHINGTON, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.175    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Oscar A Rios                                               Check all that apply.
          1908 Oliver St                                                Contingent
          HYATTSVILLE, MD 20782                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.176    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Oscar Barrios                                              Check all that apply.
          1430 Tuckerman St NW                                          Contingent
          Apt A4                                                        Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.177    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Oswaldo L Gonzalez Mendez                                  Check all that apply.
          1921 Rosemary Hills Drive                                     Contingent
          Unit R3                                                       Unliquidated
          Silver Spring, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.178    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Owen M O'Vitt                                              Check all that apply.
          2610 Urbana Dr                                                Contingent
          Silver Spring, MD 20906                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.179    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Paola O Velez                                              Check all that apply.
          15955 Frederick Rd                                            Contingent
          Apt 1318                                                      Unliquidated
          Rockville, MD 20855                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.180    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Patricia R Atencia Cueva                                   Check all that apply.
          3010 Sugar Ln                                                 Contingent
          Vienna, VA 22181                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.181    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Patrick M Pervola                                          Check all that apply.
          8709 Capistrano Way                                           Contingent
          Odenton, MD 21113                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.182    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Pedro A Sanches Lopez                                      Check all that apply.
          1221 Rock Creek Ford Rd NW                                    Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.183    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Pedro A Zavala                                             Check all that apply.
          5313 13th St NW                                               Contingent
          WASHINGTON, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.184    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Philippa A Cosgrove                                        Check all that apply.
          803 Quintana Pl NW                                            Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.185    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Poriya Samaryparizy                                        Check all that apply.
          5302 New Hampshire Ave NW                                     Contingent
          Washington, DC 20011                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.186    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Qishawn M Wallace                                          Check all that apply.
          4305 Shell St                                                 Contingent
          Capitol Heights, MD 20743                                     Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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              Name

 2.187    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rabii Messaoudi                                            Check all that apply.
          1250 S Taylor St                                              Contingent
          Apt 1                                                         Unliquidated
          Arlington, VA 22204                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.188    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Radovan Jankovic                                           Check all that apply.
          8710 Cameron St                                               Contingent
          Unit 514                                                      Unliquidated
          Silver Spring, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.189    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rafael A Rivero Acevedo                                    Check all that apply.
          3201 Wisconsin Ave NW                                         Contingent
          Apt 004                                                       Unliquidated
          Washington, DC 20016                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.190    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rafael A Yanes Escobar                                     Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 602                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.191    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ramon Eduardo L Bunch                                      Check all that apply.
          745 12th St SE                                                Contingent
          Washington, DC 20003                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.192    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          RANDY G KOUMBA MOUDOKI                                     Check all that apply.
          815 QUINCE ORCHARD BLVD                                       Contingent
          APT 23                                                        Unliquidated
          GAITHERSBURG, MD 20878                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.193    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Raul Acencio De La Cruz                                    Check all that apply.
          927 N St NW                                                   Contingent
          Apt 1                                                         Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.194    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Raul H Delaunde                                            Check all that apply.
          12413 Braxfield Ct                                            Contingent
          Apt 9                                                         Unliquidated
          Rockville, MD 20852                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.195    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          REYES R RAMOS                                              Check all that apply.
          5617 RANDOLPH ST                                              Contingent
          HYATTSVILLE, MD 20784                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.196    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Richard K Sladek Jr                                        Check all that apply.
          625 H St NE                                                   Contingent
          Apt 305                                                       Unliquidated
          Washington, DC 20002                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.197    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Roberto Albino Marcelo                                     Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 310                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.198    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          ROCHELLE L COOPER                                          Check all that apply.
          7611 MAPLE AVE                                                Contingent
          APT 40                                                        Unliquidated
          TAKOMA PARK, MD 20912                                         Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.199    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Rodolfo Morales                                            Check all that apply.
          933 N St NW                                                   Contingent
          Apt 505                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.200    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Romney E Makle                                             Check all that apply.
          3232 Georgia Ave NW                                           Contingent
          Apt 519                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.201    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          RONALD MEDRANO                                             Check all that apply.
          4501 CONNECTICUT AVE NW                                       Contingent
          WASHINGTON, DC 20008                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.202    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Roque Yac Sanchez                                          Check all that apply.
          3132 16th St NW                                               Contingent
          Apt 308                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.203    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Roxanna Salazar                                            Check all that apply.
          5105 Lackawanna St                                            Contingent
          College Park, MD 20740                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.204    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ryan E Little                                              Check all that apply.
          1833 Summit Pl NW                                             Contingent
          Apt 102                                                       Unliquidated
          Washington, DC 20009                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.205    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Ryan L Carson                                              Check all that apply.
          4905 29th Rd S                                                Contingent
          Apt A1                                                        Unliquidated
          Arlington, VA 22206                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.206    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Safiyyah B Williams                                        Check all that apply.
          7827 Crystal Brook Way                                        Contingent
          Hanover, MD 21076                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.207    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Said I Al-Banna                                            Check all that apply.
          4817 36th St NW                                               Contingent
          Apt 509                                                       Unliquidated
          Washington, DC 20008                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.208    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Salah E Charhabil                                          Check all that apply.
          44 Bates St NW                                                Contingent
          Apt A                                                         Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.209    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Salim Bouguerra                                            Check all that apply.
          3439 14th St NW                                               Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.210    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Samuel J Medrano                                           Check all that apply.
          6908 Westmoreland Rd                                          Contingent
          Falls Church, VA 22042                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.211    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sarah M White                                              Check all that apply.
          244 12th St SE                                                Contingent
          Basement                                                      Unliquidated
          Washington, DC 20003                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.212    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sarbelio Vasquez                                           Check all that apply.
          3636 16th St NW                                               Contingent
          Apt A752                                                      Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.213    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Saul Lozano                                                Check all that apply.
          1460 Irving St NW                                             Contingent
          Apt 105                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.214    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sebastian Rivera                                           Check all that apply.
          132 Lucille Ave                                               Contingent
          Staten Island, NY 10309                                       Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.215    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sebastian Siquina                                          Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 105                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.216    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Shawn Stevens                                              Check all that apply.
          4480 C St SE                                                  Contingent
          Apt 301                                                       Unliquidated
          Washington, DC 20019                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.217    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Sherman A Simmons                                          Check all that apply.
          575 Thayer Ave                                                Contingent
          Apt 104                                                       Unliquidated
          Silver Spring, MD 20910                                       Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.218    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Souad Echchatar Bannani                                    Check all that apply.
          23 Canterbury Sq                                              Contingent
          Apt 301                                                       Unliquidated
          ALEXANDRIA, VA 22304                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.219    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Spenser L Barnes                                           Check all that apply.
          3555 Whiskey Bottom Rd                                        Contingent
          Laurel, MD 20724                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.220    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Susana Miranda Garcia                                      Check all that apply.
          3513 13th St NW                                               Contingent
          Apt 104                                                       Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.221    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Taniyia J Harvey                                           Check all that apply.
          8612 Temple Hill Rd                                           Contingent
          Clinton, MD 20735                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.222    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          TAYLOR ARNOLD                                              Check all that apply.
          1910 HENRY RD                                                 Contingent
          ROCKVILLE, MD 20851                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.223    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Thomas N Shaw Jr                                           Check all that apply.
          1350 River Mist Ct                                            Contingent
          Curtis Bay, MD 21226                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.224    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tia D Coleman                                              Check all that apply.
          4286 Mandan Rd                                                Contingent
          Greenbelt, MD 20770                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.225    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tiana L Jacobs                                             Check all that apply.
          2211 10th St NW                                               Contingent
          Washington, DC 20001                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.226    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          TIMOTHY GALVIN                                             Check all that apply.
          306 16TH ST NE                                                Contingent
          WASHINGTON, DC 20002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       MassKap, LLC                                                                                    Case number (if known)
              Name

 2.227    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Trevon R Chinn                                             Check all that apply.
          1806 C St SE                                                  Contingent
          Apt #3                                                        Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.228    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Tyler M Upton                                              Check all that apply.
          13002 Ingleside Dr                                            Contingent
          Beltsville, MD 20705                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.229    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Vanesa Zepeda                                              Check all that apply.
          3331 Mt Pleasant St NW                                        Contingent
          Apt 10                                                        Unliquidated
          Washington, DC 20010                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.230    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Veaceslav Baciu                                            Check all that apply.
          1312 Clifton St NW                                            Contingent
          Apt 505                                                       Unliquidated
          Washingto, DC 20009                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.231    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Vicente Torres Roman                                       Check all that apply.
          1111 Massachusetts Ave NW                                     Contingent
          Apt 212                                                       Unliquidated
          Washington, DC 20005                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.232    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Victor H Sandoval                                          Check all that apply.
          1511 28th St S                                                Contingent
          Apt 6                                                         Unliquidated
          Arlington, VA 22206                                           Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.233    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Virginia Cotoc                                             Check all that apply.
          1236 11th St NW                                               Contingent
          Apt 108                                                       Unliquidated
          Washington, DC 20001                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.234    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          WILLIAM JOHNSON                                            Check all that apply.
          1434 DOLLEY MADISON BLVD                                      Contingent
          MCLEAN, VA 22101                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.235    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          William Wood                                               Check all that apply.
          97 Dunkirk Rd                                                 Contingent
          Baltimore, MD 21212                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.236    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Xenia M Mijango Munoz                                      Check all that apply.
          214 Kenilworth Ave NE                                         Contingent
          Apt 3A                                                        Unliquidated
          Washington, DC 20019                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.237    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Yamileth Pena                                              Check all that apply.
          1430 Tuckerman St NW                                          Contingent
          Apt 104                                                       Unliquidated
          Washington, DC 20011                                          Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.238    Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $0.00    $0.00
          Yesenia B Siguenza                                         Check all that apply.
          1441 Parkwood Pl NW                                           Contingent
          Washington, DC 20010                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Notice Only
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.239     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00       $0.00
           Yi Si Tan                                                 Check all that apply.
           2020 F St NW                                                 Contingent
           Apt 831                                                      Unliquidated
           Washington, DC 20006                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.240     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00       $0.00
           Yoni Casarrubias                                          Check all that apply.
           1200 N St NW                                                 Contingent
           #210                                                         Unliquidated
           Washington, DC 20005                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.241     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00       $0.00
           Zachary O Conway                                          Check all that apply.
           1518 Isherwood St NE                                         Contingent
           Apt 4                                                        Unliquidated
           Washington, DC 20002                                         Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.242     Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00       $0.00
           Zaria I Poynter                                           Check all that apply.
           11103 Lilac Ct                                               Contingent
           Upper Marlboro, MD 20774                                     Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,500.00
          14wBella, LLC                                                         Contingent
          12154 Darnestown Road, Ste 621                                        Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,353.30
          Adams-Burch Lender                                                    Contingent
          1901 Stanford Court                                                   Unliquidated
          Hyattsville, MD 20785                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,665.55
          Alsco                                                                 Contingent
          4900 Philadelphia Way                                                 Unliquidated
          Lanham, MD 20706                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,995.97
          Baldor Specialty Foods, Inc.                                          Contingent
          155 Food Center Drive                                                 Unliquidated
          Bronx, NY 10474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $327.96
          Breakthru Beverage                                                    Contingent
          900 E. Fayette Street                                                 Unliquidated
          P.O. Box 13326                                                        Disputed
          Baltimore, MD 21203
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,589.57
          C&JM Services, Inc.                                                   Contingent
          P.O. Box 223                                                          Unliquidated
          Gaithersburg, MD 20878                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,787.00
          Capital Meat Co.                                                      Contingent
          P.O. Box 3117                                                         Unliquidated
          Hyattsville, MD 20784                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $475.00
          Cedar Springs                                                         Contingent
          P.O. Box 1445                                                         Unliquidated
          Shepherdstown, WV 25443                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,829.76
          Coastal Sunbelt Produce                                               Contingent
          8704 Bollman Place                                                    Unliquidated
          Savage, MD 20763                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $282.02
          CT Corporation                                                        Contingent
          P.O. Box 4349                                                         Unliquidated
          Carol Stream, IL 60197-4349                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $431.96
          Dionysos Imports Inc.                                                 Contingent
          11581 Robertson Drive                                                 Unliquidated
          Manassas, VA 20109                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,332.00
          Earth N Eats                                                          Contingent
          7509 Wayne Highway                                                    Unliquidated
          Waynesboro, PA 17268                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,608.82
          Elite Wines Imports, Inc.                                             Contingent
          7407 Lockport Place, Ste A                                            Unliquidated
          Lorton, VA 22079                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,654.61
          Fells Point Wholesale Meats                                           Contingent
          P.O. Box 21491                                                        Unliquidated
          New York, NY 10087-1491                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $925.00
          Gabriel Monroy                                                        Contingent
          3404 Castle Way                                                       Unliquidated
          Silver Spring, MD 20904                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $221,992.27
          JRS Associates, Inc.                                                  Contingent
          6393A Rockburn Hill Road                                              Unliquidated
          Elkridge, MD 21075                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,552.04
          Julius Silvert, Inc.                                                  Contingent
          P.O. Box 824559                                                       Unliquidated
          Philadelphia, PA 19182-4559                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,703.14
          Keany Produce Co.                                                     Contingent
          3310 75th Avenue                                                      Unliquidated
          Hyattsville, MD 20785                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,797.29
          Kelly Health Insurance                                                Contingent
          P.O. Box 418926                                                       Unliquidated
          Boston, MA 02241-8926                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,075.00
          LDV Imports                                                           Contingent
          130 West 25th Street, Floor 7                                         Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,434.08
          Lyon Bakery                                                           Contingent
          P.O. Box 1360                                                         Unliquidated
          Hyattsville, MD 20785                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $119,130.74
          Marriot Marquis Washington DC                                         Contingent
          901 Massachusetts Avenue, NW                                          Unliquidated
          Washington, DC 20001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Rent
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,773.82
          Oracle America, Inc.                                                  Contingent
          PO Box 44471                                                          Unliquidated
          San Francisco, CA 94144-4471                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,190.97
          Path Valley Farms                                                     Contingent
          P.O. Box 15                                                           Unliquidated
          Dry Run, PA 17220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $241.30
          Pepsi-Cola                                                            Contingent
          75 Remittance Drive, Suite 1884                                       Unliquidated
          Chicago, IL 60675-1884                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,586.25
          Potomac Exhaust, Inc.                                                 Contingent
          1775 West Mt. Harmony Road                                            Unliquidated
          Owings, MD 20736                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $428.00
          Premium Distributors                                                  Contingent
          P.O. Box 742861                                                       Unliquidated
          Atlanta, GA 30374-2861                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $460.00
          R. L. Irwin Company                                                   Contingent
          P.O. Box 407                                                          Unliquidated
          Kennett Square, PA 19348                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $369.00
          Republic National Distributing Company                                Contingent
          P.O. Box 687                                                          Unliquidated
          Annapolis Junction, MD 20701-0687                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $242.13
          Roberts Oxygen Company, Inc.                                          Contingent
          P.O. Box 5507                                                         Unliquidated
          Derwood, MD 20855                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,706.13
          Samuels & Son Seafood Co.                                             Contingent
          3400 S Lawrence St                                                    Unliquidated
          Philadelphia, PA 19148                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $388.42
          Southern Glazer's of MD                                               Contingent
          P.O. Box 9207                                                         Unliquidated
          Dundalk, MD 21222-0207                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $138.70
          Staples Advantage                                                     Contingent
          Dept.ATL                                                              Unliquidated
          P.O. Box 405386                                                       Disputed
          Atlanta, GA 30384
                                                                             Basis for the claim:    Trade Payable
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $586.92
          Storm Oil, LLC                                                        Contingent
          3804 Yuma St., NW                                                     Unliquidated
          Washington, DC 20016-2214                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $360.00
          Talbort's Ice & Beverage                                              Contingent
          5234 River Road                                                       Unliquidated
          Bethesda, MD 20816                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $277.83
           The Chef's Warehouse Mid-Atlantic                                    Contingent
           P.O. Box 30944                                                       Unliquidated
           New York, NY 10087-0944                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.37      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,802.53
           The Hartford                                                         Contingent
           P.O. Box 660916                                                      Unliquidated
           Dallas, TX 75266-0916                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.38      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $100,000.00
           Tony Pagonis                                                         Contingent
           10605 Judicial Drive, A4                                             Unliquidated
           Fairfax, VA 22030                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.39      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,329.59
           Urban Petals                                                         Contingent
           4415 14th Street, NW, Unit B                                         Unliquidated
           Washington, DC 20011                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.40      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,269.00
           VEGA Pest Elimination                                                Contingent
           611 Hollywood Ave                                                    Unliquidated
           Silver Spring, MD 20904                                              Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade Payable
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                         9,430.38
 5b. Total claims from Part 2                                                                            5b.   +    $                       607,593.67

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          617,024.05




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 67 of 67
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                                       Case 18-21827                 Doc 1   Filed 09/06/18          Page 92 of 139
 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or                   Rent
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                    Marriot Marquis Washington DC
             List the contract number of any                                        901 Massachusetts Avenue, NW
                   government contract                                              Washington, DC 20001




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                   State      Zip Code




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         MassKap, LLC

 United States Bankruptcy Court for the:            DISTRICT OF MARYLAND

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,220,587.88
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                             $3,572,997.84
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Marriot Marquis Washington DC                                                                $75,865.91           Secured debt
               901 Massachusetts Avenue, NW                                                                                      Unsecured loan repayments
               Washington, DC 20001
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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 Debtor       MassKap, LLC                                                                              Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.2.
               Julius Silvert, Inc.                                                                         $51,682.95           Secured debt
               P.O. Box 824559                                                                                                   Unsecured loan repayments
               Philadelphia, PA 19182-4559
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Baldor Specialty Foods, Inc.                                                                 $34,387.48           Secured debt
               155 Food Center Drive                                                                                             Unsecured loan repayments
               Bronx, NY 10474
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Profish                                                                                      $23,926.83           Secured debt
               1900 Fenwick St NE                                                                                                Unsecured loan repayments
               Washington, DC 20002                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.5.
               Capital Meat Co.                                                                             $20,702.25           Secured debt
               P.O. Box 3117                                                                                                     Unsecured loan repayments
               Hyattsville, MD 20784
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.6.
               Kelly Health Insurance                                                                       $20,441.68           Secured debt
               P.O. Box 418926                                                                                                   Unsecured loan repayments
               Boston, MA 02241-8926
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Open Table, Inc.                                                                             $19,429.96           Secured debt
               P.O. Box 671198                                                                                                   Unsecured loan repayments
               Dallas, TX 75267
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               EagleBank                                                                                    $13,340.36           Secured debt
               130 Rollins Avenue                                                                                                Unsecured loan repayments
               Rockville, MD 20852
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.9.
               Alsco                                                                                        $12,286.34           Secured debt
               4900 Philadelphia Way                                                                                             Unsecured loan repayments
               Lanham, MD 20706
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 2
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 Debtor      MassKap, LLC                                                                               Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10
       .
            Adams-Burch Lender                                                                              $11,545.93           Secured debt
               1901 Stanford Court                                                                                               Unsecured loan repayments
               Hyattsville, MD 20785
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.11
       .
            Samuels & Son Seafood Co.                                                                       $11,517.51           Secured debt
               3400 S Lawrence St                                                                                                Unsecured loan repayments
               Philadelphia, PA 19148
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.12
       .
            Elite Wines                                                                                     $11,370.85           Secured debt
               505 Hampton Park Blvd, Suite D                                                                                    Unsecured loan repayments
               Capitol Heights, MD 20743
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.13
       .
            Fells Point Wholesale Meats                                                                       $9,179.44          Secured debt
               P.O. Box 21491                                                                                                    Unsecured loan repayments
               New York, NY 10087-1491
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.14
       .
            The Hartford                                                                                      $9,026.45          Secured debt
               P.O. Box 660916                                                                                                   Unsecured loan repayments
               Dallas, TX 75266-0916
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.15
       .
            Southern Glazer's of MD                                                                           $6,469.91          Secured debt
               P.O. Box 9207                                                                                                     Unsecured loan repayments
               Dundalk, MD 21222-0207
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value         Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.



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 Debtor      MassKap, LLC                                                                                  Case number (if known)



           None

       Creditor's name and address                              Describe of the Property                                       Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and               Status of case
               Case number                                                                   address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss           Value of property
       how the loss occurred                                                                                                                                    lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.



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 Debtor      MassKap, LLC                                                                                Case number (if known)



                Who was paid or who received                         If not money, describe any property transferred           Dates              Total amount or
                the transfer?                                                                                                                              value
                Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 5
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 Debtor      MassKap, LLC                                                                               Case number (if known)



    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.
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 Debtor      MassKap, LLC                                                                               Case number (if known)




       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Johannes Allender
                    117 Kent Oaks Way
                    Gaithersburg, MD 20878

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Johannes Allender
                    117 Kent Oaks Way
                    Gaithersburg, MD 20878

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       EagleBank
                    130 Rollins Avenue
                    Rockville, MD 20852
       26d.2.       Marriot Marquis Washington DC
                    901 Massachusetts Ave NW
                    Washington, DC 20001


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 Debtor      MassKap, LLC                                                                               Case number (if known)



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory
       27.1 Mark Petonito
       .                                                                                    07/31/2018               $68,278.33

               Name and address of the person who has possession of
               inventory records
               Mark Petonito
               901 Massachusetts Ave NW
               Washington, DC 20001


28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Mike Isabella Jr.                              775 Pearl St, SW #709                               Class A - Active - Managing           20%
                                                      Washington, DC 20024                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Johannes Allender                              117 Kent Oaks Way                                   Class A - Active - Managing           20%
                                                      Gaithersburg, MD 20878                              Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicholas Pagonis                               1111 W. St NW, Apt 8                                Class A - Active - Managing           20%
                                                      Washington, DC 20009                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       George Pagonis                                 1700 Kalorama Road, NW, Apt 405                     Class A - Active - Managing           20%
                                                      Washington, DC 20009                                Member

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Taha Ismail                                    706 Irving St, NE, #102                             Class A - Active - Managing           20%
                                                      Washington, DC 20017                                Member



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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 Debtor      MassKap, LLC                                                                               Case number (if known)



               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 6, 2018

 /s/ Johannes Allender                                                  Johannes Allender
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CFO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 9
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                                                               United States Bankruptcy Court
                                                                         District of Maryland
 In re      MassKap, LLC                                                                                              Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder

 -NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CFO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date September 6, 2018                                                       Signature /s/ Johannes Allender
                                                                                            Johannes Allender

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                               United States Bankruptcy Court
                                                                       District of Maryland
 In re      MassKap, LLC                                                                            Case No.
                                                                                 Debtor(s)          Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CFO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       September 6, 2018                                        /s/ Johannes Allender
                                                                      Johannes Allender/CFO
                                                                      Signer/Title




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                                                               United States Bankruptcy Court
                                                                        District of Maryland
 In re      MassKap, LLC                                                                                 Case No.
                                                                                  Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for MassKap, LLC in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 September 6, 2018                                                   /s/ Richard J. Oparil
 Date                                                                Richard J. Oparil
                                                                     Signature of Attorney or Litigant
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